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                                                       United States District Court
                                                       Central District of California


 UNITED STATES OF AMERICA vs.                                              Docket No.             CR 16-215 PA

 Defendant         Michael Mirando                                         Social Security No. 7         3   2     9
 akas:    Mirando, Michael John                                            (Last 4 digits)


                                         JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                  MONTH      DAY     YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.    Oct         30      2017



  COUNSEL                                                            Edward Robinson, Rtnd.
                                                                           (Name of Counsel)

     PLEA          X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                    NOT
                                                                                                             CONTENDERE
                                                                                                                                      GUILTY
  FINDING          There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                   Health Care Fraud; Causing an Act to be Done in violation of 18 U.S.C. §§ 1347; 2(b) as charged in
                   Count One through Fifteen of the Fifteen-Count Indictment.
JUDGMENT           The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/          contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM             Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that defendant, Michael Mirando, is hereby
  ORDER            committed on Counts 1 through 15 of the Indictment to the custody of the Bureau of Prisons for a term of 97 months. This term
                   consists of 97 months on each of Counts 1 through 15 of the Indictment, to be served concurrently.



Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years. This term
consists of three years on each of Counts 1 through 15 of the Indictment, all such terms to run concurrently under the
following terms and conditions:

         1. The defendant shall comply with the rules and regulations of the United States Probation Office, General
            Order 05-02, and General Order 01-05, including the three special conditions delineated in General Order
            01-05.

         2. During the period of community supervision, the defendant shall pay the special assessment and restitution
            in accordance with this judgment's orders pertaining to such payment.

         3. The defendant shall not be employed in any position that requires licensing and/or certification by any local,
            state, or federal agency without the prior written approval of the Probation Officer.

         4. The defendant shall cooperate in the collection of a DNA sample from the defendant.

         5. The defendant shall apply all monies received from income tax refunds to the outstanding Court-ordered
            financial obligation. In addition, the defendant shall apply all monies received from lottery winnings,
            inheritance, judgments and any anticipated or unexpected financial gains to the outstanding Court-ordered
            financial obligation.

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The drug testing condition mandated by statute is suspended based on the Court's determination that the defendant
poses a low risk of future substance abuse.

It is ordered that the defendant shall pay to the United States a special assessment of $1,500, which is due immediately.
Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

It is ordered that the defendant shall pay restitution in the total amount of $3,025,329.47 pursuant to 18 U.S.C. §
3663A.

The amount of restitution ordered shall be paid as set forth on the list attached to this judgment. If the defendant makes
a partial payment, each payee shall receive approximately proportional payment unless another priority order or
percentage payment is specified.

         Victim                               Amount

         AETNA                                $356,603.14

         Anthem Blue Cross/Wellpoint          $300,641.21

         BCBS of Alabama                      $113,091.39

         BCBS of Arkansas                     $1,831.07

         BCBS of Florida                      $6,442.19

         BCBS of Hawaii                       $1,988.13

         BCBS of Minnesota                    $9,261.05

         BCBS of New Jersey                   $9,972.36

         BCBS of Rhode Island                 $10,782.07

         BCBS of South Carolina               $35,961.57

         Cigna                                $251,483.58

         Coventry Health                      $15,653.36

         Emblem Health                        $7,828.09

         GEHA                                 $13,117.07

         Healthfirst                          $4,524.81

         Highmark Blue Cross                  $184,166.04

         Humana                               $256,011.86

         IHC Health Solutions                 $1,575.37


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         Independence Blue Cross              $75,503.28

         Independent Health                   $143,270.67

         Kaiser Permanente                    $9,901.43

         Premera Blue Cross                   $7,408.21

         Tricare                              $106,831.96

         United Health Group                  $1,088,810.70

         Wellcare                             $5,890.55

         XL Health                            $6,778.31



         Total                                $3,025,329.47

A partial payment of $386,807 shall be paid immediately and a second partial payment of $665,467 shall be paid within
90 days of sentencing. Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per
quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program. If any amount of the
restitution remains unpaid after release from custody, nominal monthly payments of at least 10 percent of defendant's
gross monthly income but not less than $100, whichever is greater, shall be made during the period of supervised
release and shall begin 30 days after the commencement of supervision. Nominal restitution payments are ordered as
the Court finds that the defendant's economic circumstances do not allow for either immediate or future payment of the
amount ordered.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have
the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §
3612(g).

The defendant shall comply with General Order No. 01-05.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is
unable to pay and is not likely to become able to pay any fine.

Defendant advised of his right to appeal.

Defendant is remanded into the custody of the U.S Marshal to await designation by the Bureau of Prisons. Release
Order No. 16305.

The Court recommends that defendant be housed in federal correctional institution in Sheridan, Oregon.

Bond is exonerated.

The Court enters a preliminary order of forfeiture.




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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




           October 31, 2017
           Date                                                    U. S. District Judge


 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.



                                                                   Clerk, U.S. District Court




            October 31, 2017                                 By    Kamilla Sali-Suleyman
            Filed Date                                             Deputy Clerk




 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).



                               STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE



                               While the defendant is on probation or supervised release pursuant to this judgment:




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 1.    The defendant shall not commit another Federal, state or local crime;     10.   the defendant shall not associate with any persons engaged in criminal
                                                                                       activity, and shall not associate with any person convicted of a felony
 2.    the defendant shall not leave the judicial district without the written         unless granted permission to do so by the probation officer;
       permission of the court or probation officer;
                                                                                 11.   the defendant shall permit a probation officer to visit him or her at any
 3.    the defendant shall report to the probation officer as directed by the          time at home or elsewhere and shall permit confiscation of any
       court or probation officer and shall submit a truthful and complete             contraband observed in plain view by the probation officer;
       written report within the first five days of each month;
                                                                                 12.   the defendant shall notify the probation officer within 72 hours of
 4.    the defendant shall answer truthfully all inquiries by the probation            being arrested or questioned by a law enforcement officer;
       officer and follow the instructions of the probation officer;
                                                                                 13.   the defendant shall not enter into any agreement to act as an informer
 5.    the defendant shall support his or her dependents and meet other                or a special agent of a law enforcement agency without the permission
       family responsibilities;                                                        of the court;

 6.    the defendant shall work regularly at a lawful occupation unless          14.   as directed by the probation officer, the defendant shall notify third
       excused by the probation officer for schooling, training, or other              parties of risks that may be occasioned by the defendant’s criminal
       acceptable reasons;                                                             record or personal history or characteristics, and shall permit the
                                                                                       probation officer to make such notifications and to conform the
                                                                                       defendant’s compliance with such notification requirement;
 7.    the defendant shall notify the probation officer at least 10 days prior
       to any change in residence or employment;
                                                                                 15.   the defendant shall, upon release from any period of custody, report
                                                                                       to the probation officer within 72 hours;
 8.    the defendant shall refrain from excessive use of alcohol and shall not
       purchase, possess, use, distribute, or administer any narcotic or other
       controlled substance, or any paraphernalia related to such substances,    16.   and, for felony cases only: not possess a firearm, destructive device,
       except as prescribed by a physician;                                            or any other dangerous weapon.

 9.    the defendant shall not frequent places where controlled substances
       are illegally sold, used, distributed or administered;




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             The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).
       X




           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS



           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed prior to April 24, 1996.



          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.



          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).



         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).



           Payments shall be applied in the following order:



                      1. Special assessments pursuant to 18 U.S.C. §3013;

                      2. Restitution, in this sequence:

                                 Private victims (individual and corporate),

                                 Providers of compensation to private victims,

                                 The United States as victim;

                      3. Fine;

                      4. Community restitution, pursuant to 18 U.S.C. §3663(c); and

                      5. Other penalties and costs.



                                  SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE



           As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
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                                                              RETURN



 I have executed the within Judgment and Commitment as follows:

 Defendant delivered on                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                      to




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      at
      the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.


                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                  CERTIFICATE



 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.


                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY

         Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
term of supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)

                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




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